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                                                                                BY:        '                 ,   CLERK
WARQFN 'VANS, Jr.,                                                                         DVPU CLE
     Y vant:


V.                                                        case No. 5:15-cr-00O20-#FU-1


11 11D STATES OF AG ICA,
            Respondent,


                 MOTION REQUESrING 10 FILE BELATED DIRE/T APPFAL BECàPSE
                  OF PETITIONERS AIIORNEV FAILURE ID D0 S0 AFIYR PKFTTIONER
                 REQUESTEq HIH/RER ID D0 S0 WRICH IS A RQE V.FLOZES-ORTEGA,
                 528 q.S. 470, 12O S.Ct. 1029, 145 L.Ed.2d 985 2000
                 VlotAlzoN OF PETITIONRRS RIGZTS.

     CflfLq SOW, '
                 .
                 thè Petitioner, Warren Evans, Jr., (hereinafter) referred to as the
defendant, pro-sl:j in the above styled and capt7*.oned cause and respec-tful
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Hotlon Requesting To Fl1.
                        e A Belated Direct Appeal Because of petitioners Attorney Fail-
ure To Do So @fter Petitioner Requested Him/Rer To Dö So which is a Roe v. Flores-
Ortega, 528 U.S. 470, 120 S.Ct. 1029, 145 L.Fd.2d 985 (2000) violatfon of petitioners
Rfghts.

                                          JURISDICJION

     Thls Honorable Court is vested with the jurisdiction and the didcretionary authority
to address and grant the requested relief sought.

                    PRELIHINARY STAP N       9F FAW S & PRX D IJIWL G SK RY
     Movantt
           .lrs conviction arises from an incîdent that occurred on Mam h 20 :
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                                                                               ,,.014 .
                                                                                       '
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the2d:y of July 6) 2015, a arrest warriant kas issued for movant fùr; Count (1) 21:846.

CD.F Conspiracy to Distribute controlled Substance-21:846, 841(b)(1)(A) and 841tb)t1)(c)-
heroin, cocaine base ''crackN (10/2014), Count (2) 21:846=CD.F- Conspiracy to Distribute
    Controlled Substance-beroin death-21:$46 and 841(b)t1)tC) (1O/2014)j and the Complaints :
    21:846=CD.F- Conspiracy To Distrfbute A Controlled supstance-21:846. 841(1)(1) & (b)(1)
    (C)-HEROI5 t1O/17/2O14). On June 24) 2015) Hovant was Arrested, and charged with the
    above stated chqrges ip which orle was the Death of one Uf his drugs sales.
                                .



            petitioner brings to this Honorable court a violation of his Constitutional Rights

    bkcause his then Attorney; R. Darren Bostic,Esq- failure to file a Direct Appeal after
    he was requested to do so by petstioner-
            It is clearly stated in Hontanoino v. United States, 68 F.3d 416 (11th Cirr 1995)
    stating; (failure to file Notice of Appeal after requested by defenamnt), also Mmrtin v.
    United States, 81 F.3d 1083 (11th Cir. 1996) stating; (counsel failed to file a Notice
                -




    of Appeal when requested to do so by the defendant). By petitioners Attorneys failure
'
    to file a timely appeal violates pëtitioners due prccess yight to the court because hfs
    actions alone cause petitioner case to end where his Attorney left him at.
            Although petitioners Attorney withdrew after the case ended.capsed the duq process
                    '                                         '   '
                                                                          '           '
        .               '                     .
                                                  .


    violation. Due Process does require that a pro-se defendant have access to lejal resour-
    ces. See Bounds v. Smith, 430 D.S. 817, 828 (1977) ('%T)he fundamental constitutional
                                      .



    right of access to t%e courts tequires prispn authorities to assist inmates in the pre-
                                                      K
                        .


    paration arld filing of meaningful legal papers by providing prisoners with adequate law

    libraries Of adequate assistance from Persons trained in the la:.H); see United states-




    v. Kind, 194 F.3d 900/ 905 (8th Cir. lgggltdefendant has due process right oftaccess to
                                                                      .

    legal resources). Beacuse of petitioners colunsels failure to file his Notice oTf Appealz
                                          .


    and also knowing that petitioner was leaving to go to Federal prison to start his Federal

    prison sentence.

            Petitipner continued to avgué with hi> Attorney; 2. Dakren Bostic, Esq. concerùing
    the Autmp:y Report, and why was it taking so long for the report to come back.    .



            After receiving the requested records from my Attorney; R . Darren Bostic, Esq., we

    spoke about the contents of the repory, and this wa:-in the month of August 2017.

                                                          2
          In the month of August, 2017) I received a letter from my Attorney R. Darren Bosticy

    in response to the letter I had wrote to him concerning a copy of the Autopsy report, and
    after reading over the letter thati's when I notice that it was a mixture of drugs that

w   took the life of the victim in this caje.
          Qaen Petitioner contacted his Attorney R. Darren Bostic petitioner ask vithin his
    letter kf hfs Attorney was aware of Burrage v. Pnfted States, 134 S.Ct. 881, 187 L.Fd.
    2d 715 (2014), in uhich petitloner ast hLu why didn't he use this case to argue his case?
          Petitioner also ask his Attorney if he was awarq of Tiofila Santillana ve lody Upton,
                                                                                      - -
                                                                                               '- - -
                     .       .                            .



    846 F.3d 779; 20t7 U.S. App.IRXTS 747. See Exhibit tA) of this Motion Vhich is the
    response letter from my Attorney which mention that it was a second Autopsy report that
    I had no knowledge of until I receive this letter. This letter was sent Augùst'
                                                                                  .
                                                                                  /'
                                                                                   1l, 2017.
            Also I would like for you to,rqview the second letter, and reports that my Attozmey

    sent to Ilèe Juges17.y.:201% in whic,
                                        h it cpntain copies of ttne autopsy report) and it proves
    that lnjz Attorney didn't inform me of this thtil this tlimej s.'ée Exhibit'(B).
                                 ,
                                         '   .   *            .       .       .


         Because .of petitioners counsels failure to file his éotice of Appeal, and also know-

    ing tbat petitioner was going to Federal prison      left petitioner with (No) Federal resour-
'
    ces .

            The actions of petitioners Attorney is clearly a Roe v. Flores-orteaa, 528 D.S.
                                                                          '
                         .


    470, 483-84 (2000) (prejudice presumed where defendant demonstrates reasonable probability
    that but for Counsel's deficient failure to consult dqfendant about an appealy coursel

    would have timely appealed) also Smith v. Robbins, 528 D.S. 259, 287 (2000) '
                                                                                (3 catego-
                                                                                  '
                                                                                        j
    ries of cases in which prejudice is presumed: (1) denial of ccunsel; (2) where:counsel
                                                                          '
                                                                                        j
    is kurdened by an actual conflidt of interest; and (3) various kinds of State l
                                                                                  interference).
            In another very importaptusupreme Court case; Pnited States .v. Crouic, A66 U.s.
                                     '
      .


    648, 659 (1984) (prejudice presumed where ''counsel entirely fails to subjeçt the prosecut-
    ion's case to meaningful adversarial testingo'g.


                                                     3
                 It's clearly shows that petitioners counsel fail to file a Notice of Appeal as he

    was requested to do, and now the.petitioner is nokprequesting this Honorable Coutt to
    allow him to file a Belated Notice of Appealg A lawyer disregards a defendant's specific
                                                                                                           '           '
                                                                                                                       .
                                                                        ,               .

                                           ,ip a manner tsat is p/ofeséipnally.unreasonabley
        inqtructiops to file an appeal actà..               '   .
                                                                            '           '                          .
                       .        .


        satisfying the first prong of the Steickland v. Washington, 466 P.S. 668, 104 S.Ct.
                                                                                )                                          .   -
        2052, 80 L.Ed.2d 674 (1984) test citing out of Roe v. Flores-ortega, 528 D.S. 470, 120
        S.Ct. 1029, 145 L.Fd,2d 985 (2000). In Campusano v. United States, 442 F.3d 770 (2006).
        (holding that ''
                       where counsel does not file a requested Hotice of Appeal and fails to ffle
        an adequate Anders brief àarguing that an appealwould be frivolousl)courts may not
        dismiss the hypothetical appeal as frivolous on collateral review.lg.
                 The Supreme Court.established a three-step analytical framework to be applled assess-
        fng ineffective assistance of coulsel claim: predicated upon counsel's failure to ffle a
        notice pf appeal on the defendant's bebalf. fnder Flores-orteaa, courts first must estàb-
        t'ish whethç: a defendant requested that his attorney file a notice of appeal.
                 If such a request were made and disregarded, then counsel acted in a manner that was
    per se professionally unreasonable.

                 If, however, the defendant neither instvucts counsel to file an appeal nor asks that
    anappeal not be takenz courts must then determine whether counsel Hconsulted'pq.kith the
    defendant about an appeal.
                 In this context, the tenn ''consulp' means Hadvising the defendant about the advant-
    ages and disadvantages of taking an appealz and making a reasonable effort to disco
                                                                                   '
                                                                                       ver
                                                        .



'
    the defendantbè wishese''
                 If counsel has consulted with thq defendant.. . y'then counsel.performs in a prof
                                                                                              1 ession-
                                        .                                           ,           ...            k
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            ..
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                                                                                    .                 g.
    ally unreasopqble manner only bk rkf;'4il
    .                      ..       .           .
                                                    .
                                                                      y .k .                .

                                           - ing to'follow the defendant's express fnstrùcttons

    with respect to an appeal.''


                                                                        4
            If however, counsel fails to consult with the defèndant, then ''the court must in

        turn ask a second, and subsidiary, question: whether counsel's failure to consult with
        the defendant itself constitutes deficient performapceo'' In this final category of cases,

        the courtr''rejqctLedg a bright-line rulé tlwt eounsel.musttalways consult ùith the defen-
        dant regarding an appeal.'' Rather, the Court held that ''counsel has a constitutionally

        imposed duty to consult with the defendant about an appeal when there is reason to think

        either (1) that a rational defepdant would want to appeal (for example, becauôe there are
        nonufrivolous grounds for appeal), or (2) that this particular defendant reasonably demon-
        strated to counsel that:he was fnterestèd in appealing.'' See Roe v. Flores-orteaa,

        528 P.S. 470, 120 S.Ct. 1029, 145 L.Fd.2d 985 (2000). Well, petitioner thought that he
        was doing rig
                    $
                      ht by requestirlg his Attorney to file an Appe
                                                                   l
                                                                     al on his tehalf, and that his.
        Attorpey would follow his request to appeal.

             The Supreme Cburt has rejected attempts to explain this ''actual or ccnstructive assis-
                                                                        '      .             .   .
                                    .                                              :'


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    '   tance of counsel''category to prqspge prejgdlce where.ll) counsql fafled to file.notfce of
                       .




        aPPOal withoùt defendant's consent, Flores-ortega, 528 U.S. at 484. and (2) counsel nëg-
        lected to file a merits bvief for appeal, Robbins, 528 U.S. at 288-89.
             In b0th instances) the Court has required satisfaction of b0th the pefformance and

        preludice prongs to sustain an ineffective assistance claim, See Flores-ortegâj 528              1
                                                      .

        D.S. at 484) Robbins, 528 U.S. at 288-89.

                                            PRKqFNTRNCE REPORT RH .
                                                                  IEF

             See Dnfted States v. Danielsy 821 F.2d 76, 80 (1st Cir. 1987) and Dnlteé states         -   -   - -   v.
                                                                                                         l

        Blackner, 721 F.2d 703, 7O8 (10th Ciro 1983).
             There cannpt he an entr/ Of a plea with specificitv witiout à canplete unserstanding '
              .
                                ,
                                '       -     **              **   -'       .. '        *.           .



        of the impact of tùe (PSI Report) and its content, in sentencing Presentence Repovt and
        Presentence Investigation can not be use as evidence) specific finding in the (PSI-PSR)

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are use only for the backgrotvd history of a cpnvicted felonv In petitioners cape here,   '
                                     ''
                                          .                                    J
he made a plea in court,but not knowing txat there was two (2) different autops'
                                                                               y reports
                                                                                              '
                                                                             '        .
                         .
in which it clearly shows that the victim had more then one drug within her body.
                                                                                                       '
                                                                                                  .


 .
       Pettti
            .pner ask his Attorney about two (2) very .ilpportant casqs iù which
                                                                               .'èyplain Ehe':k6''
corzect way of dealing with a problem such as this; see Burrage v. Dnited States, 134

S.Ct. 881, 187 L.Fd.2d 715 (2014) and '
                                      rioffla Santfllana v. Jody Upton, 846 F.3d 7791
2017 U.S. App. TSXIS 747.
       This information should have been file within this Ronorable Court for review before
                         .
                                                                                              I
gften to the Probation Offfcçr after the court made a ruling concerning this issue.
       Petitioner would like to cite this last Unitèd States Supreme Court case which hope-
fully wfll cover al1 of the mfstakes that may be withfn thfs motion. See Hafnes v.

Kprner, 404 U.S. 519, 520-21 (1972);
                 Pro-se litfgants are to te construed liberally and held to a
                  less stvingent standard than formal pleadsngs drafted by lywyèrs;
                  if-the court cpn yçasonably ryqd pleadinjs'to state a valfd èlain
               '',
                 b or w
                      'bich litigant could preva*
                                                ll it àhould do so despite failure
                  to cite proper legal authority, confusion of legal theories, poov
                                                                         '

                     theories, poor syntax, and sentence constructionr.or litigantjs
                  unfnmlliar-
                            lty with (legal) pleadfng requirements; Rughes v. Rowe,
                  449 P.S. 5 (1980); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir.
                  1991).
                                              CDNCLUSION

     Because of the violations that was done to petitidner concerning his Atto/neys fail-
                                                                               1
ure to file a Notice of Appeal, petitioner Prays that this Ronorable court wtll grant
                             '                                       .                        1
                                              .                                               I
his request, and give him the opportunity to be heard in the United States Couyt of Appeals
           '     .               .
       j

For Ihe Fourth Circuit.

                                                      /S/   '
                                                                                 PW
                                                                Rarfen.
                                                                      eazvans Jy. #58902-037: Vro-se
                                                                Federal Correltfonal Compley-Esp 1
                                                                P.o. Box 1033
                                                                Colèmqn, Florida 33521

Date


                                                  6
                                                    CFRTIFIC:TE OF SERVICE

                      1, Warren Evans Jr., pro-se) do hereby certify under the penalty of perjury t28 Dsc
               j 1746) that I have served a true and correct copy of the follpwing documentts): HETICN
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               RW IRAVTNG K FILE A BEIATD DR EW APPFAL BK APSE OF PETITIQO S ATIDRu
                 -             '                                                                  FM LDXE :(D m
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               S0 Apn;R PETITIONER REDuE
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                                        sllD BIM 1D b0 S0 VHICH IS A R0E v. FLDRFS-ORTR7A, 528 U-S:S
                                                         ''                 .   - -   .   .   .




               470, 120 s-ct. 1029, 145 L.Ed.2d 985 (zooo)vlotATzo: oF PzrrryosRns RzcaTs.
                      Rhich, pursuant to Houston v. Lack, 487 D.S. 266, 101 L.Fd.2d 245, 108 S.Ct. 2379
               (1988), deemed filed at the time it was delivered to prison authorities for fo/warding to
               the court and servfce upon parties-to litigation and/or their attorneyts) pf record.
                      I have placed the material referenced,above in a properly sealed envelope with first-
               class postage (stamps) affixed and address it to:
               1. United States Court of Appeals
                  For The Fourth Circuit
                  Clerk of The Courts
                  Lewis F. Powell
                  1100 Eait Main St. Suite 501
                  Rivhmpnd, VA 23219        .
               2. United States District Court
                     Ofjice of Ihe.clerk
                     116 N. Hain Street, Room 314
                     Harrisonburg) VA 22802
                     United States Attorney 's Office
                     Elizabeth Wright
                     116 N. Hain St. Room 130
                     Harrisonburg, VA 22802


                      Petitioner is filing three (3) copies of said motion within the Clerk's Office of
           the Court of Appeals, and petitioner is also forwarding one (1) copy of said motion to

           the United States Attorney's Office to: Elizaketh Wrightl and one (1) copy of said motfon
                                                              .



          touuae District Uourts Clerk. Petitioner place said documentts) in the Dnited States
          Posta1 Service via the legal mailbox here                         y     ..'
                                                                  at the United States Peniteniary, USP 1y Coleman,
          Florida.

                                                                      By:                                 -


                                                                        Mr. Rarren Evans Jr. #58902-037 Pro-se
                           / .                                                                       l

         Date
